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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
   v.                                                  ) Case No.: 2:18-CR-050
                                                       )
MICHAEL ARTHUR NIXON                                   )

         DEFENDANT MICHAEL ARTHUR NIXON’S SECOND MOTION FOR
                 CONTINUANCE OF SENTENCING HEARING

        Defendant Michael Arthur Nixon hereby files this Second Motion for Continuance of

Sentencing Hearing, showing the Court as follows:

                                                1.

        Defendant’s sentencing hearing in the above-captioned criminal matter has been scheduled

for Wednesday, December 11, 2019 at 1:00 p.m.

                                                2.

        Defendant has subpoenaed a material witness, Kimberly Daniels, who is an employee of

Dismas Charities, Inc.

                                                3.

        Dismas Charities operates a halfway house in Savannah, Georgia, where Ms. Daniels

supervised Defendant while on supervised release from approximately April 11, 2017 through

October 4, 2017.

                                                4.

        Ms. Daniels was served with the subpoena and informed Defendant’s counsel this

afternoon that she is required to obtain additional authorizations, including from the Federal

Bureau of Prisons, before she is permitted as an employee of Dismas Charities to appear and testify

in court. The subpoena has been forwarded to the appropriate officials for authorization, but as of


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the filing of this Motion, Ms. Daniels had not received the required authorizations and was not

sure when such authorization would be received.

                                                5.

       Because Ms. Daniels’ testimony may have a material impact on the outcome of

Defendant’s sentencing hearing and because she cannot appear until such authorizations are issued,

Defendant respectfully requests that the Court continue the sentencing hearing for a sufficient

amount of time to enable Ms. Daniels to obtain the appropriate authorizations to testify at

Defendant’s sentencing hearing.

       RESPECTFULLY SUBMITTED, this 10th day of December, 2019.

                                             ROBERTS TATE, LLC

                                             /s/ Jason M. Tate
                                             Jason M. Tate
                                             State Bar No. 140827
                                             jtate@robertstate.com
                                             ATTORNEY FOR DEFENDANT
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                               CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that a copy of the foregoing DEFENDANT

MICHAEL ARTHUR NIXON’S SECOND MOTION FOR CONTINUANCE OF

SENTENCING HEARING was served on all parties entitled to receive such service via the

CM/ECF electronic filing system of this Court.

       This the 10th day of December, 2019.

                                           ROBERTS TATE, LLC

                                           /s/ Jason M. Tate
                                           Jason M. Tate
                                           State Bar No. 140827
                                           jtate@robertstate.com

                                           ATTORNEY FOR DEFENDANT
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